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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA, Case No. GR 20-0202 © DCN
Plaintiff, INDICTMENT

VS. 18 U.S.C. § 981) \(C)
18 U.S.C, § 982(a)(2)(A)
DOUGLAS ARNOLD WOLD, 18 U.S.C, § 1341
18 U.S.C. § 1343
Defendant. 18 U.S.C, § 1957
28 U.S.C. § 2461

 

 

The Grand Jury charges:
GENERAL ALLEGATIONS
1. At all times relevant to the Indictment, the Defendant, DOUGLAS ARNOLD
WOLD, was a resident of Meridian, Idaho and was employed as a Human Resources Manager at

Fry Foods, Inc. (“Fry Foods”) in Ontario, Oregon.

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2, Fry Foods is headquartered in Tiffin, Ohio and produces a complete line of
breaded and battered appetizers for food service and retail.

3. Fry Foods has facilities in Weiser, Idaho and Ontario, Oregon, where the
Defendant was employed.

4, The Defendant owns and manages several corporate entities registered in the State
of Idaho, including Wake Plates LLC, which he registered on February 13, 2020, Wake Plate
Design, which he registered on June 19, 2020, and Hala Lalio Health, which he registered on
July 21, 2020,

5, The Defendant maintains personal bank accounts and business bank accounts,
including accounts for Wake Plates LLC, Wake Plate Design, and Hala Lallo Health, at Banner
Bank in Meridian, Idaho.

COUNTS ONE THROUGH ELEVEN

Wire Fraud
18 U.S.C. § 1343

6, The allegations set forth in Paragraphs 1 through 5 are hereby realleged as if fully
set forth herein.

7. From an unknown date, but at least starting in May of 2020, until August of 2020,
in the District of Idaho and elsewhere, the Defendant, DOUGLAS ARNOLD WOLD, knowingly
devised, participated in, and intended to devise a scheme to defraud, as to material matters, Fry
Foods, and to obtain money and property belonging to Fry Foods by means of materially false
and fraudulent pretenses, representations, and promises, and to misappropriate without authority

money and property belonging to Fry Foods.

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Manner and Means

8. In order to further the objects and goals of the scheme, the Defendant used the
following manner and means, among others:

9, It was part of the scheme that in his capacity as Human Resources Manager, the
Defendant had the ability to process payroll for employees of Fry Foods’ Ontario facility.

10. ‘It was further part of the scheme that to process the payroll, the Defendant would
submit payroll requests by email and other means to Fry Foods’ accounting firm, The
accounting firm, which had access to a Fry Foods bank account, would process the requests
submitted by the Defendant and issue checks payable to employees listed in the Defendant’s
payroll requests.

11. it was further part of the scheme that the Defendant issued false and fraudulent
payroll requests to Fry Foods’ accounting firm. Specifically, the Defendant would submit
payroll requests for employees who the Defendant knew (i) never worked at Fry Foods or (it) no
longer worked at Fry Foods and for whom the Defendant knew that no wages were due.

12. It was further part of the scheme that the Defendant would receive the fraudulent
payroll checks—that is, checks issued to the employees who no longer worked at or were never
employed by Fry Foods—and deposit them into his personal and business bank accounts at

Banner Bank in Meridian, Idaho, including the following accounts:

 

 

 

 

 

Last Four Digits of Name on Account
Account Number
7922 Wake Plates LLC
9315 Douglas Arnold Wold d/b/a Hala Lallo Health
1328 Douglas Arnold Wold d/b/a Wake Plate Designs
6223 K.A.M.W., Douglas Arnold Wold

 

 

 

 

INDICTMENT - 3

 
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6321

T.R.M.W., Douglas Arnold Wold

 

 

6528

 

K.J.M.W., Douglas Arnold Wold

 

 

13.

It was further part of the scheme that the Defendant also spent proceeds of his

fraud on personal items, including the 2019 Tige’ R23 Speedboat and 2019 Boatmate Boat

Trailer described below in Count Thirteen.

14.

Executions of the Scheme

On or about the respective dates below, in the District of Idaho and elsewhere, the

Defendant, for the purpose of executing the scheme described above, caused to be transmitted by

means of wire communication in interstate commerce the signals and sounds described below,

each transmission constituting a separate count of this Indictment:

 

 

 

 

 

 

 

 

 

 

COUNT DATE DESCRIPTION OF WIRE RECIPIENT BANI<
ACCOUNT
1 May 20, Mobile deposit of fraudulent payroll | Wake Plates LLC,
2020 check in the name of L.E.A. in the account ending in 7922
amount of $1,003.11
2 May 20, Mobile deposit of fraudulent payroll | Wake Plates LLC,
2020 check in the name of C.K.D. inthe | account ending in 7922
amount of $1,104.59
3 June 5, Mobile deposit of fraudulent payroll | Wake Plates LLC,
2020 check in the name of E.C. in the account ending in 7922
amount of $1,514.66
4 June 5, Mobile deposit of fraudulent payroll | Wake Plates LLC,
2020 check in the name of J.A.A. in the account ending in 7922
amount of $1,646.33
5 June 5, Mobile deposit of fraudulent payroll | Wake Plates LLC,
2020 check in the name of A.R.S. in the account ending in 7922
amount of $1,284.35

 

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6 June 19, Mobile deposit of fraudulent payroll | Wake Plates LLC,
2020 check in the name of Y.C.P.V. in the | account ending in 7922
amount of $1,572.82
7 June 19, Mobile deposit of fraudulent payroll | Wake Plates LLC,
2020 check in the name of M.A.R. inthe | account ending in 7922
amount of $1,469.19
8 June 19, Mobile deposit of fraudulent payroll | Wake Plates LLC,
2020 check in the name of V.T-S. in the account ending in 7922
amount of $1,331.68
9 June 25, Mobile deposit of fraudulent payroll | Wake Plate Design,
2020 check in the name of Y.H-H in the account ending in 1328
amount of $1,552.50
10 June 25, Mobile deposit of fraudulent payroli | Wake Plate Design,
2020 check in the name of E.C, in the account ending in 1328
amount of $1,535.70
{1 June 25, Mobile deposit of fraudulent payroll | Wake Plate Design,
2020 check in the name of J.A.A, in the account ending in 1328
amount of $1,458.69

 

All in violation of Title 18, United States Code, Section 1343,

COUNT TWELVE

Mail Fraud
18 ULS.C, § 1341

15. The allegations set forth in Paragraphs 1 through 14 are hereby realleged as if

fully set forth herein.

in the District of Idaho and elsewhere, the Defendant, DOUGLAS ARNOLD WOLD, knowingly
devised, participated in, and intended to devise a scheme to defraud, as to material matters, Fry

Foods, and to obtain money and property belonging to Fry Foods by means of materially false

16. From an unknown date, but at least starting in May of 2020 until August of 2020,

INDICTMENT - 5

 

 
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and fraudulent pretenses, representations, and promises, and to misappropriate without authority
money and property belonging to Fry Foods.
Manner and Means

17. In order to further the objects and goals of the scheme, the Defendant used the
following manner and means, among others:

18. It was part of the scheme that the Defendant arranged with Fry Foods to provide
Covid-19 testing of its employees at Fry Foods’ Weiser, Idaho location.

19, It was further part of the scheme that the Defendant arranged for Fry Foods to pay
his company, Hala Lallo Health, for the testing with the representation that Hala Lallo Heaith
was the provider of the tests when, in fact, a different medical company provided the testing.

20. ‘It was further part of the scheme that the Defendant issued false and fraudulent
Covid-19 testing invoice (with invoice number 20-1005) in the amount of $39,995.00 to Fry
Foods at its headquarters in Tiffin, Ohio. The invoice was false and fraudulent in that the
Defendant represented to Fry Foods that the costs of the testing would be approximately
$39,995.00. The Defendant knew that the actual costs of the Covid-19 testing were materially
lower than the amount the Defendant stated in the invoice.

21. ‘It was further part of the scheme that when Fry Foods paid the Defendant for the
amount of the invoice, through a check made payable to Hala Lallo Health, the Defendant
deposited the funds for his personal use and did not pay the actual provider of the Covid-19 tests.

22. It was further part of the scheme that the Defendant spent the proceeds of his
fraud on personal items, including the 2019 Tige’ R23 Speedboat and 2019 Boatmate Boat

Trailer described below in Count Thirteen.

INDICTMENT - 6

 
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Execution of the Scheme

23. On or about July 14, 2020, in the District of Idaho and elsewhere, the Defendant,
for the purpose of executing the scheme described above, caused to be deposited and delivered
by mail the following matter: a check in the amount of $39,995.00 from Fry Foods, which was
sent to and made payable to Hala Lallo Health at 1740 E. Fairview Avenue #1013, Meridian, ID
83642 for invoice number 20-1005,

All in violation of Title 18, United States Code, Section 1341.

COUNT THIRTEEN
Engaging in Monetary Transactions in
Property Derived From Specified Unlawful Activity
18 U.S.C. § 1957

24. ‘The allegations set forth in Paragraphs 1 through 23 are hereby realleged as if
fully set forth herein.

25, On or about July 29, 2020, in the District of Idaho, the Defendant, DOUGLAS
ARNOLD WOLD, did knowingly engage and attempt to engage in a monetary transaction
through or to a financial institution, affecting interstate or foreign commerce, in criminally
derived property of a value greater than $10,000, to wit: a transfer of $69,116.48 from Wake
Plates LLC’s account at Banner Bank to Cashiering Loan Servicing for the purpose of
purchasing a 2019 Tige’ R23 Speedboat (with Hull Identification Number TIX0242SD919) and
a 2019 Boatmate Boat Trailer (with Vehicle Identification Number 5A7BB2322K1T000147),
such property having been derived from a specified unlawful activity, that is, the wire fraud and

mail fraud schemes described above.

In violation of Title 18, United States Codes, Section 1957.

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CRIMINAL FORFEITURE ALLEGATIONS

 

Wire Fraud and Mail Fraud Forfeiture
18 U.S.C. §§ 981(a)(1)(C) and 982(a)(2)(A); 28 U.S.C, § 2461

Upon conviction of the offenses alleged in Counts One through Twelve of this
Indictment, in violation of 18 U.S.C. §§ 1341 and 1343, the Defendant, DOUGLAS ARNOLD
WOLD, shal! forfeit to the United States any and all property, real and personal, tangible and
intangible, consisting or derived from any proceeds the said defendant obtained directly or
indirectly as a result of the foregoing offenses. The property to be forfeited includes, but is not

limited to, the following.

Identified Property. Proceeds and funds derived from proceeds in various bank accounts,
including the following:

e Banner Bank account ending in 7922 for Wake Plates LLC;

e Banner Bank account ending in 9315 for Douglas Arnold Wold d/b/a
Hala Lallo Health;

*® Banner Bank account ending in 1328 for Douglas Arnold Wold d/b/a
Wake Plate Design;

« Banner Bank account ending in 6223 for K.A.M.W. and Douglas
Arnold Wold;

e Banner Bank account ending in 6321 for T.R.M.W. and Douglas
Arnold Wold; and

* Banner Bank account ending in 6528 for K.J.M.W. and Douglas
Arnold Wold.

Property purchased with proceeds or with funds derived from proceeds, including the
following:

* 2019 Tige’ R23 Speedboat, Hull Identification Number
TIX02428D919; and

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e 2019 Boatmate Boat Trailer, Vehicle Identification Number
5A7BB2322K T000147,

Unrecovered Cash Proceeds and/or Facilitating Property. The Defendant obtained and
controlled unrecovered proceeds of the offense of conviction, or property derived from or
traceable to such proceeds, and property the defendant used to facilitate the offense, but based
upon actions of the Defendant, the property was transferred, diminished, comingled, or is
otherwise unavailable.

Substitute Assets. Pursuant to 21 U.S.C. § 853(p) and other applicable statutes, the
Government will seek forfeiture of substitute assets, “or any other property of the defendant” up
to the value of the defendant’s assets subject to forfeiture. The Government will do so when the

property subject to forfeiture cannot be forfeited for one or more of the following reasons:

f

a, Cannot be located upon the exercise of due diligence;
b, Has been transferred or sold to, or deposited with, a third person;
C. Has been placed beyond the jurisdiction of the court;
od, Has been substantially diminished in value; or
e, Has been commingled with other property which cannot be subdivided
without difficulty.

Money Laundering Forfeiture
18 U.S.C. §§ 981(a)(A)(C) and 982(a)(1) and 28 U.S.C, § 2461(c)

Upon conviction of the offenses alleged in Count Thirteen of this Indictment, in violation
of 18 U.S.C, § 1957, the Defendant, DOUGLAS ARNOLD WOLD, shall forfeit to the United
States, pursuant to 18 U.S.C. § 981(aj(1)(C) and 28 U.S.C, § 2461{c), any property, real and
personal, which constitutes or is derived from proceeds traceable to said violations; and any and

all property, real and personal, tangible and intangible, used or intended to be used, in any

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manner or part, to commit, or to facilitate the commission of, the foregoing offense. The
property to be forfeited includes, but is not limited to, the following:
a, The following bank accounts:

« Banner Bank account ending in 7922 for Wake Plates LLC;

e Banner Bank account ending in 9315 for Douglas Arnold Wold d/b/a
Hala Lallo Health;

e Banner Bank account ending in 1328 for Douglas Arnold Wold d/b/a
Wake Piate Design;

® Banner Bank account ending in 6223 for K.A.M.W. and Douglas
Arnold Wold;

e Banner Bank account ending in 6321 for T.R.M.W. and Douglas
Arnold Wold; and

« Banner Bank account ending in 6528 for K.J.M.W. and Douglas
Amold Wold.

b, The following personal property:

* 2019 Tige’ R23 Speedboat, Hull Identification Number
TIX0242SD919; and

e 2019 Boatmate Boat Trailer, Vehicle Identification Number
5A7BB2322K 7000147.

Unrecovered Cash Proceeds and/or Facilitating Property. The Defendant obtained and
controlled unrecovered proceeds of the offense of conviction, or property derived from or
traceable to such proceeds, and property the defendant used to facilitate the offense, but based
upon actions of the Defendant, the property was transferred, diminished, comingled, or is
otherwise unavailable.

Substitute Assets. Pursuant to 21 U.S.C. § 853(p) and other applicable statutes, the

Government will seek forfeiture of substitute assets, “or any other property of the defendant” up

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to the value of the defendant’s assets subject to forfeiture. The Government will do so when the

property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a

b.

Cannot be located upon the exercise of due diligence;

Has been transferred or sold to, or deposited with, a third person;

Has been placed beyond the jurisdiction of the court;

Has been substantially diminished in value; or

Has been commingled with other property which cannot be subdivided

without difficulty.

Dated this 10th day of September, 2020

BART M. DAVIS

A TRUE BILL

/s/ [signature on reverse]

 

Foreperson

Be States Attorney

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J est D. Hurwit
Assistant United States ntomey

INDICTMENT - 11

 
